                               No. 25-1480


              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT
     _____________________________________________________

   Minnesota Chapter of Associated Builders and Contractors, Inc., et al.
                                               Plaintiffs-Appellants,
                                    vs.
    Nicole Blissenbach, in her official capacity as Commissioner of the
           Minnesota Department of Labor and Industry, et al.
                                       Defendants-Appellees,
     _____________________________________________________

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MINNESOTA
     _____________________________________________________

                     BRIEF OF APPELLEES
     _____________________________________________________

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Appellate Case: 25-1480   Page: 1    Date Filed: 05/23/2025 Entry ID: 5519829
     SUMMARY OF CASE AND REQUEST FOR ORAL ARGUMENT

      In 2024, the Minnesota Office of the Legislative Auditor issued a report on

worker misclassification. Misclassifying workers includes when employers treat

workers as independent contractors when they are required to treat them as

employees. According to the report, misclassification deprives workers of wages and

workplace protections; disadvantages law-abiding employers; results in less revenue

for state programs; and has a negative impact on the economy. The report further

stated, “Minnesota has neither an adequate nor coordinated approach for ensuring

that Minnesota workers are properly classified.” Later that year, the Legislature

amended the multi-factor test that determines whether a worker in the construction

industry is an employee or an independent contractor. It also added civil penalties.

The statute provides a constitutional framework to address a persistent problem:

improper classification of workers in the construction industry.

      Because this lawsuit challenges the constitutionality of a state statute,

Appellees request twenty minutes of oral argument.




                                          i
   Appellate Case: 25-1480    Page: 2    Date Filed: 05/23/2025 Entry ID: 5519829
                                        TABLE OF CONTENTS

                                                                                                                     Page

SUMMARY OF CASE AND REQUEST FOR ORAL ARGUMENT .....................i
TABLE OF AUTHORITIES ....................................................................................iv
STATEMENT OF ISSUES ....................................................................................... 1
STATEMENT OF THE CASE .................................................................................. 2
I.        FROM 1996 TO 2024, MINNESOTA USED A NINE-PART TEST TO
          DETERMINE IF CONSTRUCTION WORKERS ARE CORRECTLY CLASSIFIED.......... 2
II.       ATTORNEY GENERAL MISCLASSIFICATION TASK FORCE AND OFFICE OF
          THE LEGISLATIVE AUDITOR IDENTIFY RECOMMENDATIONS TO PREVENT
          MISCLASSIFICATION IN MINNESOTA. ................................................................ 3
III.      THE LEGISLATURE ADOPTS A NEW 14-PART TEST FOR DETERMINING IF
          CONSTRUCTION WORKERS ARE CORRECTLY CLASSIFIED. ............................... 6
IV.       PROCEDURAL HISTORY ...................................................................................11
SUMMARY OF ARGUMENT ...............................................................................12
ARGUMENT ...........................................................................................................13
I.        APPELLANTS LACK STANDING. .......................................................................13
          A.      Appellants lack standing because they have not demonstrated an
                  injury-in-fact. .......................................................................................14
                  1.       Appellants have not shown a history of enforcement
                           against others for similar conduct. ............................................15
                  2.       Appellants have not shown an express threat of
                           enforcement against them or their members. ............................16
                  3.       Appellants’ argument about their intended course of action
                           does not prove a threat of enforcement as it is
                           not particularized and depends on the conduct of third
                           parties. .......................................................................................18
II.       DATAPHASE FACTORS AND STANDARD OF REVIEW. ........................................21

                                                            ii
       Appellate Case: 25-1480             Page: 3         Date Filed: 05/23/2025 Entry ID: 5519829
III.      THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION WHEN IT
          CONCLUDED APPELLANTS DID NOT SATISFY THE DATAPHASE FACTORS. .......23
          A.      The district court did not abuse its discretion when it concluded
                  Appellants were unlikely to succeed on the merits of their void-
                  for-vagueness challenge. .....................................................................24
                  1.       The standard. .............................................................................24
                  2.       The statute provides adequate notice. .......................................26
                  3.       The statute contains neutral limitations that prevent
                           arbitrary enforcement. ...............................................................31
                  4.       Appellants’ actual disagreement is that the statute is too
                           specific. .....................................................................................33
                  5.       Heightened scrutiny does not apply. .........................................35
          B.      The district court did not abuse its direction when it concluded
                  Appellants are unlikely to succeed on their Excessive Fine
                  claim… ................................................................................................ 38
                  1.       The standard. .............................................................................38
                  2.       The Eighth Amendment is not implicated because the
                           statute’s fines are civil and required to be tailored to
                           specific conduct.........................................................................39
                  3.       This Court should decline to hold that hypothetical future
                           fines would be unconstitutionally excessive.............................40
          C.      The district court did not abuse its discretion when it concluded
                  Appellants did not satisfy the remaining Dataphase factors. .............43
                  1.       Appellants will not suffer irreparable harm from the denial
                           of an injunction. ........................................................................43
                  2.       The balance of equities and the public interest support
                           denial of an injunction. .............................................................45
CONCLUSION ........................................................................................................46




                                                           iii
       Appellate Case: 25-1480             Page: 4         Date Filed: 05/23/2025 Entry ID: 5519829
                                     TABLE OF AUTHORITIES


                                                                                                              Page
Federal Cases

Alexis Bailly Vineyard, Inc. v. Harrington
 931 F.3d 774 (8th Cir. 2019)................................................................................ 18

Austin v. U.S.
 509 U.S. 602 (1993) ............................................................................................. 39

Babbitt v. United Farm Workers Nat. Union
 442 U.S. 289 (1979) ............................................................................................. 16

Barmet Aluminum Corp. v. Reilly
 927 F.2d 289 (6th Cir. 1991)................................................................................ 44

Boos v. Barry
 485 U.S. 312 (1988) ............................................................................................. 26

Browning-Ferris Industries of Vt., Inc. v. Kelco Disposal, Inc.
 492 U.S. 257 (1989) ............................................................................................. 41

Bucklew v. Precythe
 587 U.S. 119 (2019) ............................................................................................. 39

California v. Texas
  593 U.S. 659 (2021) ............................................................................ 1, 18, 19, 20

Capitol Records, Inc. v. Thomas-Rasset
  692 F.3d 899 (8th Cir. 2012)..................................................................... 1, 41, 42

Chalmers v. City of Los Angeles
 762 F.2d 753 (9th Cir. 1985)................................................................................ 36

Chapman v. United States
 500 U.S. 453 (1991) ............................................................................................. 24




                                                         iv
    Appellate Case: 25-1480              Page: 5         Date Filed: 05/23/2025 Entry ID: 5519829
Cigna Corp. v. Bricker
 103 F.4th 1336 (8th Cir. 2024) ............................................................................ 45

City of Kansas City, Mo. v. Yarco Co.
 625 F.3d 1038 (8th Cir. 2010).............................................................................. 21

Clapper v. Amnesty Int’l USA
 568 U.S. 398 (2013) ....................................................................................... 13, 14

D.C. v. City of St. Louis, Mo.
 795 F.2d 652 (8th Cir. 1986)................................................................................ 30

Dataphase Sys., Inc. v. C L Sys., Inc.
 640 F.2d 109 (8th Cir. 1981)........................................................................... 1, 22

Deja Vu of Nashville, Inc. v. Metro. Gov't of Nashville
 274 F.3d 377 (6th Cir. 2001)................................................................................ 32

Food & Drug Admin. v. Alliance for Hippocratic Med.
 602 U.S. 367 (2024) ............................................................................................. 13

FW/PBS, Inc. v. Dallas
 493 U.S. 215 (1990) ............................................................................................. 32

Geiger v. City of Eagan
  618 F.2d 26 (8th Cir. 1980)................................................................................. 31

General Motors Corp. v. Harry Brown’s, LLC
 563 F.3d 312 (8th Cir. 2009)................................................................................ 22

Grant on behalf of United States v. Zorn
 107 F.4th 782 (8th Cir. 2024) .............................................................................. 41

Grayned v. City of Rockford
  408 U.S. 104 (1972) ........................................................................................ 1, 25

Harmelin v. Michigan
 501 U.S. 957 (1990) ....................................................................................... 39, 41




                                                         v
    Appellate Case: 25-1480              Page: 6         Date Filed: 05/23/2025 Entry ID: 5519829
Hays v. City of Urbana
 104 F.3d 102 (7th Cir. 1997)......................................................................... 20, 21

Heartland Acad. Cmty. Church v. Waddle
 335 F.3d 684 (8th Cir. 2003)................................................................................ 23

Higgins Elec., Inc. v. O’Fallon Fire Prot. Dist.
 813 F.3d 1124 (8th Cir. 2016).............................................................................. 21

Hill v. Colorado
 530 U.S. 703 (2000) ............................................................................................. 25

Holder v. Humanitarian Law Project
 561 U.S. 1 (2010) ................................................................................................. 14

In re SuperValu, Inc.
  870 F.3d 763 (8th Cir. 2017).......................................................................... 14, 17

Johnson v. State of Mo.
  142 F.3d 1087 (8th Cir. 1998).............................................................................. 17

Kolender v. Lawson
 461 U.S. 352 (1983) ....................................................................................... 31, 35

Lance v. Coffman
 549 U.S. 437 (2007) ............................................................................................. 15

Lujan v. Def. of Wildlife
  504 U.S. 555 (1992) ..................................................................................... Passim

Maryland v. King
 567 U.S. 1301 (2012) ........................................................................................... 45

Metro. Omaha Prop. Owners Ass’n, Inc. v. City of Omaha
 991 F.3d 880 (8th Cir. 2021)..................................................................... 1, 25, 33

Miller v. California
 413 U.S. 15 (1973) ......................................................................................... 27, 28




                                                          vi
    Appellate Case: 25-1480               Page: 7         Date Filed: 05/23/2025 Entry ID: 5519829
Moody v. NetChoice, LLC
 603 U.S. 707 (2024) ............................................................................................. 39

Morehouse Enter., LLC v. Bureau of Alcohol, Tobacco, Firearms & Explosives
 78 F.4th 1011 (8th Cir. 2023) ........................................................................ 22, 45

North Dakota v. Heydinger
 825 F.3d 912 (8th Cir. 2016)................................................................................ 18

Packard Elevator v. I.C.C.
  782 F.2d 112 (8th Cir. 1986)........................................................................... 1, 44

Planned Parenthood of Minn., N.D., S.D. v. Rounds
 530 F.3d 724 (8th Cir. 2008)................................................................................ 22

Rowles v. Curators of Univ. of Mo.
  983 F.3d 345 (8th Cir. 2020)............................................................................... 25

Sanzone v. Mercy Health
 954 F.3d 1031 (8th Cir. 2020).............................................................................. 29

Simon v. E. Kentucky Welfare Rts. Org.
  426 U.S. 26 (1976) ............................................................................................... 17

Smith v. Golden China of Red Wing, Inc.
 987 F.3d 1205 (8th Cir. 2021).............................................................................. 21

Summers v. Earth Island Institute
  555 U.S. 488 (2009) ............................................................................ 1, 14, 18, 19

Susan B. Anthony List v. Driehaus
  573 U.S. 149 (2014) .................................................................................. 1, 14, 42

Tony & Susan Alamo Found. v. Sec’y of Lab.
 471 U.S. 290 (1985) ............................................................................................. 34

TransUnion LLC v. Ramirez
 594 U.S. 413 (2023) ....................................................................................... 13, 14




                                                         vii
    Appellate Case: 25-1480               Page: 8         Date Filed: 05/23/2025 Entry ID: 5519829
United States v. Aleff
 772 F.3d 508 (8th Cir. 2014)................................................................................ 40

United States v. Bajakajian
 524 U.S. 321 (1998) ........................................................................................ 1, 40

United States v. Barraza
 576 F.3d 798 (8th Cir. 2009)................................................................................ 25

United States v. Bieri
 68 F.3d 232 (8th Cir. 1995).................................................................................. 40

United States v. Bramer
 832 F.3d 908 (8th Cir. 2016)................................................................................ 24

United States v. Nadi
 996 F.2d 548 (2d Cir. 1993) ................................................................................. 24

United States v. Rahimi
 602 U.S. 680 (2024) ............................................................................................. 38

United States v. Rogan
 517 F.3d 449 (7th Cir. 2008)................................................................................ 41

United States v. Salerno
 481 U.S. 739 (1987) ....................................................................................... 38, 39

United States v. Stupka
 418 F. Supp. 3d 402 (N.D. Iowa 2019) ............................................................... 24

United States v. Trudell
 563 F.2d 889 (8th Cir. 1977)................................................................................ 25

United States v. Veasley
 98 F.4th 906 (8th Cir. 2024) ................................................................................ 39

Video Software Dealers Ass'n v. Webster
 968 F.2d 684 (8th Cir. 1992).......................................................................... 27, 28




                                                        viii
    Appellate Case: 25-1480              Page: 9         Date Filed: 05/23/2025 Entry ID: 5519829
Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc.
 455 U.S. 489 (1982) ...................................................................................... Passim

Wilbur-Ellis Co., LLC v. Erikson
 103 F.4th 1352 (8th Cir. 2024) ............................................................................ 21

Winter v. Natural Res. Def. Council, Inc.
 555 U.S. 7 (2008) ................................................................................................. 21

State Cases

Guhlke v. Roberts Truck Lines
 128 N.W.2d 324 (Minn. 1964) ............................................................................. 34

Hammes v. Suk
 190 N.W.2d 478 (Minn. 1971) ............................................................................. 34

Holzemer v. Minn. Milk Co.
 259 N.W.2d 592 (Minn. 1977) ............................................................................. 34

Matter of Surveillance and Integrity Review
 996 N.W.2d 178 (Minn. 2023) ............................................................................. 26

Nelson v. Levy
 796 N.W.2d 336 (Minn. Ct. App. 2011) .............................................................. 27

Nelson v. Schlener
 859 N.W.2d 288 (Minn. 2015) ............................................................................. 26

St. Croix Sensory Inc. v. Dep't of Emp. & Econ. Dev.
  785 N.W.2d 796 (Minn. Ct. App. 2010) .............................................................. 28

State v. Kueny
  215 N.W.2d 215 (Iowa 1974) .............................................................................. 30

State v. Newell
  Case No. 27-CR-23-445 (Henn. Cnty. Dist. Ct. Jan. 6, 2023)............................. 25

Unzen v. City of Duluth
 683 N.W.2d 875 (Minn. Ct. App. 2004) .............................................................. 34

                                                          ix
   Appellate Case: 25-1480               Page: 10          Date Filed: 05/23/2025 Entry ID: 5519829
Federal Constitutional Provisions

U.S. Const. amend. VIII............................................................................................ 1

U.S. Const. amend. XIV ........................................................................................... 1

State Statutes

1996 Minnesota Laws Ch. 374 ................................................................................. 2

Minn. Ch. 14.57-62 ................................................................................................. 32

Minn. Stat. § 8.01 .................................................................................................... 37

Minn. Stat. § 8.31 ................................................................................................ 3, 10

Minn. Stat. § 14.045 ................................................................................................ 41

Minn. Stat. § 14.045, subds. 1-3 ....................................................................... 37, 40

Minn. Stat. § 14.63 ............................................................................................ 32, 44

Minn. Stat. § 177.27, subd. 4 ...................................................................... 10, 32, 33

Minn. Stat. § 181.1721 ........................................................................................ 3, 10

Minn. Stat. § 181.722, subd. 4 (2023) ...................................................................... 3

Minn. Stat. § 181.723 ....................................................................................... Passim

Minn. Stat. § 181.723, subd. 4(b)(2) (2023) ........................................................... 29

Minn. Stat. § 181.723, subd. 4 (2023) .................................................................. 3, 9

Minn. Stat. § 181.723, subd. 4 .................................................................................. 6

Minn. Stat. § 181.723, subd. 4(b) ........................................................................... 30

Minn. Stat. § 181.723, subd. 7(g)(2)-(4) ................................................................... 9


                                                            x
   Appellate Case: 25-1480                Page: 11          Date Filed: 05/23/2025 Entry ID: 5519829
Minn. Stat. § 181.723, subd. 7(h) ............................................................................. 9

Minn. Stat. § 181.723, subd. 12(h) ......................................................................... 33

Minn. Stat. § 326B.081, subd. 3 ............................................................................. 31

Minn. Stat. § 326B.082, subd. 7(a) ......................................................................... 31

Minn. Stat. § 326B.082, subd. 8 ....................................................................... 10, 32

Minn. Stat. § 326B.082, subd. 11(b)(1)-(2) ............................................................ 31

Minn. Stat. § 326B.082, subd. 12 ..................................................................... 10, 31

Minn. Stat. § 326B.083, subd. 3(c) ................................................................... 10, 31

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Office, https://www.ag.state.mn.us/Taskforce/Misclassification/ …………………3

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https://www.dli.mn.gov/sites/default/files/pdf/presentation_employee_misclassific
ation.pdf, archived at https://perma.cc/L8KD-JM2T. ......................................11, 27



                                                         xi
   Appellate Case: 25-1480               Page: 12         Date Filed: 05/23/2025 Entry ID: 5519829
HF 5247..................................................................................................................... 6

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Cnty.),
https://www.ag.state.mn.us/Office/Communications/2024/docs/Arise_AoD.pdf......37

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archived at https://perma.cc/R8GH-NTMM (“OLA Report”)........................Passim




                                                             xii
    Appellate Case: 25-1480                 Page: 13          Date Filed: 05/23/2025 Entry ID: 5519829
                          STATEMENT OF ISSUES

I.     Do Appellants have standing?

       Most Apposite Authorities:
       California v. Texas, 593 U.S. 659 (2021)
       Susan B. Anthony List v. Driehaus, 573 U.S. 149 (2014)
       Summers v. Earth Island Institute, 555 U.S. 488 (2009)
       Lujan v. Def. of Wildlife, 504 U.S. 555 (1992)

II.    Did the district court abuse its discretion when it concluded that
       Appellants are unlikely to succeed on the merits of their void-for-
       vagueness claim?

       Most Apposite Authorities:
       Grayned v. City of Rockford, 408 U.S. 104 (1972)
       Metro. Omaha Prop. Owners Ass’n, Inc. v. City of Omaha, 991 F.3d 880
       (8th Cir. 2021)
       U.S. CONST. amend. XIV
       Minn. Stat. § 181.723

III.   Did the district court abuse its discretion when it concluded that
       Appellants are unlikely to succeed on the merits of their Excessive
       Fines claim?

       Most Apposite Authorities:
       United States v. Bajakajian, 524 U.S. 321 (1998)
       Capitol Records, Inc. v. Thomas-Rasset, 692 F.3d 899 (8th Cir. 2012)
       U.S. CONST. amend. VIII
       Minn. Stat. § 181.723

IV.    Did the district court abuse its discretion when it concluded
       Appellants did not satisfy the remaining Dataphase factors?

       Most Apposite Authorities:
       Packard Elevator v. I.C.C., 782 F.2d 112 (8th Cir. 1986)
       Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109 (8th Cir. 1981)




                                       1
Appellate Case: 25-1480    Page: 14    Date Filed: 05/23/2025 Entry ID: 5519829
                            STATEMENT OF THE CASE

I.      FROM 1996 TO 2024, MINNESOTA USED A NINE-PART TEST TO DETERMINE
        IF CONSTRUCTION WORKERS ARE CORRECTLY CLASSIFIED.

        In 1996, Minnesota adopted a nine-part test for construction contractors to use

to determine whether individuals are employees or independent contractors.

1996 Minnesota Laws Ch. 374.

        (a) An individual is an independent contractor and not an employee of
        the person for whom the individual is performing services in the course
        of the person's trade, business, profession, or occupation only if the
        individual:

        (1) maintains a separate business with the individual's own office,
        equipment, materials, and other facilities;

        (2)(i) holds or has applied for a federal employer identification number
        or (ii) has filed business or self-employment income tax returns with
        the federal Internal Revenue Service if the individual has performed
        services in the previous year;

        (3) is operating under contract to perform the specific services for the
        person for specific amounts of money and under which the individual
        controls the means of performing the services;

        (4) is incurring the main expenses related to the services that the
        individual is performing for the person under the contract;

        (5) is responsible for the satisfactory completion of the services that the
        individual has contracted to perform for the person and is liable for a
        failure to complete the services;

        (6) receives compensation from the person for the services performed
        under the contract on a commission or per-job or competitive bid basis
        and not on any other basis;

        (7) may realize a profit or suffer a loss under the contract to perform
        services for the person;


                                             2
     Appellate Case: 25-1480    Page: 15     Date Filed: 05/23/2025 Entry ID: 5519829
         (8) has continuing or recurring business liabilities or obligations; and

         (9) the success or failure of the individual's business depends on the
         relationship of business receipts to expenditures.

Minn. Stat. 181.723, subd. 4 (2023).1 A construction worker, who is not an

independent contractor, had the ability to bring a civil suit seeking damages. Minn.

Stat. § 181.722, subd. 4 (2023). The Department of Labor and Industry had

enforcement authority under Sections 326B.081-.085. The Attorney General also

had enforcement authority. See Minn. Stat. §§ 181.1721, 8.31.

II.      ATTORNEY GENERAL MISCLASSIFICATION TASK FORCE AND OFFICE OF
         THE LEGISLATIVE AUDITOR IDENTIFY RECOMMENDATIONS TO PREVENT
         MISCLASSIFICATION IN MINNESOTA.

         In 2023, the Attorney General convened an Advisory Task Force on Worker

Misclassification. He explained,

         Misclassifying workers hurts not only those who are misclassified and
         their families, it hurts all Minnesotans, including businesses who do the
         right thing by their employees by playing by the rules, and every
         Minnesota taxpayer who has to make up the slack for law breaking
         employers.

Advisory Task Force on Worker Misclassification, Minnesota Attorney General’s

Office, https://www.ag.state.mn.us/Taskforce/Misclassification/ (last visited May

23, 2025). The Task Force’s mission was to gather information about the problem

and make practical recommendations to end the problem. Id. According to the U.S.



1
 See Joint Appendix (“App.”) 196-198; R. Doc. 23-1, at 2-4 (2023 version of
Section 181.723).

                                              3
      Appellate Case: 25-1480   Page: 16     Date Filed: 05/23/2025 Entry ID: 5519829
Census Bureau, Minnesota has over 397,000 non-employer businesses or residents

who are self-employed.2 After holding meetings across the state for six months, the

Task Force voted to adopt a policy proposal for the Legislature, which became the

misclassification bills HF4444/SF4483. (App. 203; R. Doc. 23-1, at 9.)

       In May 2023, the Legislative Audit Commission directed Minnesota’s

Legislative Auditor to update its 2007 report on “Misclassification of Employees as

Independent Contractors.”3 According to the Legislative Auditor’s 2024 report, the

misclassification of workers affects workers and employers in Minnesota by

depriving workers of wages and workplace protections; disadvantages law-abiding

employers; results in less revenue for state programs; and has a negative impact on

the economy. (OLA Report, at 1.) The Legislative Auditor’s evaluation focused on

Minnesota’s approach to classifying workers in general and ensuring that employees

who were classified as independent contractors were not misclassified. (Id. at 2.)



2
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https://www.auditor.leg.state.mn.us/ped/pedrep/2024-worker-misclassification.pdf,
archived at https://perma.cc/R8GH-NTMM (“OLA Report”).

                                         4
    Appellate Case: 25-1480   Page: 17   Date Filed: 05/23/2025 Entry ID: 5519829
The Legislative Auditor recommended new legislation because many of the issues

discussed in the 2007 report persisted. (Id. at 21.) The Legislative Auditor concluded

that Minnesota still lacked a sufficient “approach for ensuring that Minnesota

workers are properly classified.” (Id.)

       Several Minnesota state agencies have regulatory authority over worker

misclassification. The main ones are the Minnesota Department of Labor and

Industry (DLI), the Minnesota Department of Employment and Economic

Development (DEED), and the Minnesota Department of Revenue (DOR). These

three agencies “generally use different tests or standards to determine a worker’s

classification, even if one agency confirmed that an employer misclassified a

worker, the other agency would still need to make its own determination.” (Id. at

23.)

       The OLA Report recommended in 2024—as it did in 2007—that Minnesota

enact common criteria for determining worker classification when possible. (Id. 26.)

Additionally, the OLA Report noted that DLI, DEED, and DOR do not have many

requirements in law specific to addressing worker misclassification. (Id. at 27.) The

Legislative Auditor recommended: “If the Legislature would like agencies to take a

more active role in addressing worker misclassification, the Legislature should direct

agencies to do so in law.” (Id. at 29.)




                                           5
  Appellate Case: 25-1480     Page: 18    Date Filed: 05/23/2025 Entry ID: 5519829
III.   THE LEGISLATURE ADOPTS A NEW 14-PART TEST FOR DETERMINING IF
       CONSTRUCTION WORKERS ARE CORRECTLY CLASSIFIED.

       In 2024, the Minnesota Legislature acted on the Legislative Auditor’s

recommendations. In doing so, the Legislature heard testimony from many

stakeholders. For example, a representative for the union LiUNA testified about how

widespread worker misclassification is in the construction industry.4 She directed

the Legislature’s attention to a study by Midwest Economic Policy Institute that

concluded in 2020 that over 30,000 construction workers in Minnesota (23% of the

workforce) were either misclassified or paid off the books in cash.5 Appellant

Minnesota Chapter of Associated Builders and Contractors, Inc. (MNABC) testified

in opposition to the bill. MNABC argued that it was unclear what was wrong with

the nine-factor test, and it asked for an effective date later than August 1.6

       The worker misclassification bill was added to the omnibus bill that was

signed by the Governor on May 24, 2024. See HF 5247, 4th Engrossment – 93d Leg.

(2023–2024), Article 10, Section 8. It revised Section 181.723, subd. 4—the


4
  House Labor & Industry Finance & Policy Committee, March 5, 2024, available
at https://www.youtube.com/watch?v=Bg2FIliLG-k (32:48-33:19).
5
  Id. (referring to Frank Manzo IV, “Construction Wage Theft Costs WI, MN, and
IL Taxpayers $362 Million Per Year,” Midwest Economic Policy Institute (Jan. 14,
2021), at https://midwestepi.org/2021/01/14/construction-wage-theft-costs-wi-mn-
and-il-taxpayers-362-million-per-year/, archived at https://perma.cc/9PLE-DVBY.
6
  House Labor & Industry Finance & Policy Committee, March 5, 2024, available
at https://www.youtube.com/watch?v=Bg2FIliLG-k (starting at 54:59; see also
56:00-56:13; 57:50-58:29). Counsel Tom Revnew also testified. Id. at 58:54.

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    Appellate Case: 25-1480   Page: 19     Date Filed: 05/23/2025 Entry ID: 5519829
independent contractor test for the construction industry. With the change, effective

March 1, 2025, the test has 14 parts:

      (a) An individual is an independent contractor and not an employee of
      the person for whom the individual is providing or performing services
      in the course of the person's trade, business, profession, or occupation
      only if the individual is operating as a business entity that meets all of
      the following requirements at the time the services were provided or
      performed:

      (1) was established and maintained separately from and independently
      of the person for whom the services were provided or performed;

      (2) owns, rents, or leases equipment, tools, vehicles, materials, supplies,
      office space, or other facilities that are used by the business entity to
      provide or perform building construction or improvement services;

      (3) provides or performs, or offers to provide or perform, the same or
      similar building construction or improvement services for multiple
      persons or the general public;

      (4) is in compliance with all of the following:

      (i) holds a federal employer identification number if required by federal
      law;

      (ii) holds a Minnesota tax identification number if required by
      Minnesota law;

      (iii) has received and retained 1099 forms for income received for
      building construction or improvement services provided or performed,
      if required by Minnesota or federal law;

      (iv) has filed business or self-employment income tax returns, including
      estimated tax filings, with the federal Internal Revenue Service and the
      Department of Revenue, as the business entity or as a self-employed
      individual reporting income earned, for providing or performing
      building construction or improvement services, if any, in the previous
      12 months; and




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  Appellate Case: 25-1480     Page: 20     Date Filed: 05/23/2025 Entry ID: 5519829
   (v) has completed and provided a W-9 federal income tax form to the
   person for whom the services were provided or performed if required
   by federal law;

   (5) is in good standing as defined by section 5.26, if applicable;

   (6) has a Minnesota unemployment insurance account if required by
   chapter 268;

   (7) has obtained required workers' compensation insurance coverage if
   required by chapter 176;

   (8) holds current business licenses, registrations, and certifications if
   required by chapter 326B and sections 327.31 to 327.36;

   (9) is operating under a written contract to provide or perform the
   specific services for the person that:

   (i) is signed and dated by both an authorized representative of the
   business entity and of the person for whom the services are being
   provided or performed;

   (ii) is fully executed no later than 30 days after the date work
   commences;

   (iii) identifies the specific services to be provided or performed under
   the contract;

   (iv) provides for compensation from the person for the services
   provided or performed under the contract on a commission or per-job
   or competitive bid basis and not on any other basis; and

   (v) the requirements of item (ii) shall not apply to change orders;

   (10) submits invoices and receives payments for completion of the
   specific services provided or performed under the written proposal,
   contract, or change order in the name of the business entity. Payments
   made in cash do not meet this requirement;

   (11) the terms of the written proposal, contract, or change order provide
   the business entity control over the means of providing or performing
   the specific services, and the business entity in fact controls the
   provision or performance of the specific services;

                                       8
Appellate Case: 25-1480   Page: 21     Date Filed: 05/23/2025 Entry ID: 5519829
       (12) incurs the main expenses and costs related to providing or
       performing the specific services under the written proposal, contract, or
       change order;

       (13) is responsible for the completion of the specific services to be
       provided or performed under the written proposal, contract, or change
       order and is responsible, as provided under the written proposal,
       contract, or change order, for failure to complete the specific services;
       and

       (14) may realize additional profit or suffer a loss, if costs and expenses
       to provide or perform the specific services under the written proposal,
       contract, or change order are less than or greater than the compensation
       provided under the written proposal, contract, or change order.

Minn. Stat. § 181.723, subd. 4 (2024) (eff. Mar. 1, 2025).7 The revision also added

the penalties:

       (2) a penalty of up to $10,000 for each individual the person failed to
       classify, represent, or treat as an employee pursuant to this section;

       (3) a penalty of up to $10,000 for each violation of this subdivision; and

       (4) a penalty of $1,000 for any person who delays, obstructs, or
       otherwise fails to cooperate with the commissioner's investigation.
       Each day of delay, obstruction, or failure to cooperate constitutes a
       separate violation.

Minn. Stat. § 181.723, subd. 7(g)(2)-(4). Compensatory damages are addressed in

subdivision 7(g)(1). Violations of Section 181.723 may be investigated or enforced

under the DLI Commissioner’s authority. Minn. Stat. § 181.723, subd. 7(h).


7
  See Add. 25-29; App. 205-209; R. Doc. 23-1, at 11-15 (the 2024 version of Section
181.723). The 2024 version of Section 181.723 is referred to herein as “the statute.”
The effective date of March 1, 2025, for subdivision 4 can be found at Laws 2024,
chapter 127, article 10, section 8, the effective date. All other changes to Section
181.723 (including the penalties) were effective July 1, 2024.

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    Appellate Case: 25-1480   Page: 22     Date Filed: 05/23/2025 Entry ID: 5519829
       Just like the previous version, it remains true that DLI has enforcement

authority. See Minn. Stat. § 177.27, subd. 4. Likewise, the Attorney General still has

enforcement authority. See Minn. Stat. §§ 181.1721, 8.31. And there is still a private

right of action. Minn. Stat. § 181.171, subd. 1.

       A violation of § 181.723 may result in DLI issuing a compliance order

under Minnesota Statutes Section 177.27, subdivision 4.8 Subdivision 4 reads in

relevant part:

       The department shall serve the order upon the employer or the employer's
       authorized representative in person or by certified mail at the employer's place
       of business. An employer who wishes to contest the order must file written
       notice of objection to the order with the commissioner within 15 calendar days
       after being served with the order. A contested case proceeding must then be
       held in accordance with sections 14.57 to 14.69 or 181.165. If, within 15
       calendar days after being served with the order, the employer fails to file a
       written notice of objection with the commissioner, the order becomes a final
       order of the commissioner.

Minn. Stat. § 177.27, subd. 4 (emphasis added).




8
  Section 326B.081, subd. 3, also incorporates the statute in its definition of
applicable law. Pursuant to Section 326B.082, subd. 7(a), and 326B.082, subd.
11(b)(1)-(2), DLI may issue licensing or administrative orders for violations of
Section 181.723. See also Minn. Stat. § 326B.082, subd. 8 (administrative
proceedings to contest the administrative order); Minn. Stat. § 326B.082, subd. 12
(providing for contested-case hearings under chapter 14); Minn. Stat. § 326B.083,
subd. 3(c) (addressing administrative and licensing orders with penalties and an
administrative law judge’s review).

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    Appellate Case: 25-1480   Page: 23     Date Filed: 05/23/2025 Entry ID: 5519829
        DLI issued an FAQ document and PowerPoint to educate the public about the

meaning of the statute.9

IV.     PROCEDURAL HISTORY

        On February 12, 2025, nearly nine months after the Governor signed the bill

amending the statute, Appellants filed this lawsuit. (App. 1; R. Doc. 1.) Relevant

here, the Complaint alleges the statute is unconstitutionally vague and violates the

Excessive Fines Clause of the Eighth Amendment.10

        On February 13, Appellants filed a motion for an ex parte temporary

restraining order and a preliminary injunction to enjoin Appellees from enforcing

the statute. (App. 58; R. Doc. 8, at 2; App. 2, at ¶ 4; R. Doc. 12, at 2 ¶ 4.) Appellants

sought expedited relief. (App. 57; R. Doc. 8, at 1.) Also on February 13, the district

court set and held a status conference. (App. 189-190; R. Doc. 16 (text only).) The

district court established a briefing schedule and set the hearing for

February 26, 2025. (App. 191-92; R. Doc. 20 (text only).) The district court denied

Appellants’ motions, (Addendum (“Add.”) 7-22; App. 210-225; R. Doc. 28), and




9
   See App. 165-176; R. Doc. 12, at 105-16; Employee Misclassification,
Minn.            Dep’t            of          Labor           &         Industry,
https://www.dli.mn.gov/sites/default/files/pdf/presentation_employee_misclassific
ation.pdf, archived at https://perma.cc/L8KD-JM2T.
10
  The Complaint also asserts preemption and procedural due process claims. (Add.
28-33.) Those claims are not at issue in this appeal.

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     Appellate Case: 25-1480   Page: 24     Date Filed: 05/23/2025 Entry ID: 5519829
entered judgment, (Add. 23; App. 226; R. Doc. 29). Appellants filed a notice of

appeal on March 7, 2025. (App. 228-230; R. Doc. 30.)11

                           SUMMARY OF ARGUMENT

        Appellants lack standing because they cannot establish an injury-in-fact. They

bring this pre-enforcement challenge to a business regulation but fail to demonstrate

a concrete or particularized harm or the risk of imminent enforcement. Even if the

Appellants had standing, the district court did not abuse its discretion when it denied

a preliminary injunction. As for vagueness, the statute provides fair notice of the test

and it does not encourage arbitrary enforcement. On the contrary, the scheme

Appellants propose is one that would fall back on common law tests, which are

vaguer and less specific than the 14-factor test. Further, Appellants argue in

conclusory fashion that certain words or phrases are vague. But basic principles of

statutory interpretation show that they are not. The district court likewise did not

abuse its discretion when it concluded Appellants are unlikely to succeed on their

Excessive Fine Clause claim because this Statute is civil rather than criminal and

because—in this pre-enforcement posture—there is no conduct or fine to evaluate.

Finally, the district court did not abuse its discretion when it concluded Appellants

did not meet the remaining Dataphase factors and denied the motion for preliminary



11
   Pursuant to the parties’ stipulation, the district court stayed proceedings pending
this appeal. (R. Doc. 37.)

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     Appellate Case: 25-1480   Page: 25    Date Filed: 05/23/2025 Entry ID: 5519829
injunction and temporary restraining order, concluding Appellants’ alleged injuries

are economic and the State has a strong interest in enforcing the statute.

                                     ARGUMENT

I.      APPELLANTS LACK STANDING.

        Appellants’ lack Article III standing to challenge the statute. There is no

principle “more fundamental to the judiciary’s proper role in our system of

government than the constitutional limitation of federal-court jurisdiction to actual

cases or controversies.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013).

“The requirement that the plaintiff possess a personal stake helps ensure that courts

decide litigants’ legal rights in specific cases, as Article III requires, and that courts

do not opine on legal issues in response to citizens who might ‘roam the country in

search of governmental wrongdoing.’” Food & Drug Admin. v. Alliance for

Hippocratic Med., 602 U.S. 367, 379 (2024); see also TransUnion LLC v. Ramirez,

594 U.S. 413, 423 (2023) (standing ensures federal courts exercise “their proper

function in a limited and separated government” (citation omitted)).

        To demonstrate Article III standing, Appellants bear the burden of showing

they have (1) “suffered an injury in fact”; (2) the injury is “fairly . . . trace[able] to

the challenged action of the defendant”; and (3) it is “likely, as opposed to merely

speculative, that the injury will be redressed by a favorable decision.” Lujan v. Def.

of Wildlife, 504 U.S. 555, 560-61 (1992). Here, because “‘the plaintiff is not himself



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     Appellate Case: 25-1480   Page: 26     Date Filed: 05/23/2025 Entry ID: 5519829
the object of the government action or inaction he challenges, standing is not

precluded, but it is ordinarily substantially more difficult to establish.’” Summers v.

Earth Island Inst., 555 U.S. 488, 493 (2009) (quoting Lujan, 504 U.S. at 562).

Appellants lack standing because they have not demonstrated an injury-in-fact.

      A.     Appellants lack standing because they have not demonstrated an
             injury-in-fact.

      A plaintiff’s injury must be “concrete”, i.e. “real, and not abstract,”

TransUnion, 594 U.S. at 424, and particularized, Lujan, 504 U.S. at 560. Appellants

attempt to establish their standing in this pre-enforcement challenge by arguing they

are injured by the possibility of enforcement of the statute. To establish an injury in

a pre-enforcement suit, a plaintiff must show a “credible threat of enforcement.”

Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014). Appellants “must

demonstrate that ‘the threatened injury is certainly impending, or there is a

substantial risk that the harm will occur.’ ” In re SuperValu, Inc., 870 F.3d 763, 769

(8th Cir. 2017) (some internal quotation marks omitted), quoting Driehaus, 573 U.S.

at 158. “[P]ossible future injury” is insufficient. Clapper, 568 U.S. at 409 (emphasis

in original). A plaintiff may establish a cognizable pre-enforcement injury where

there was either a history of enforcement against others for similar conduct, or an

express threat of enforcement against the plaintiff. See Holder v. Humanitarian Law

Project, 561 U.S. 1, 16 (2010).




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  Appellate Case: 25-1480     Page: 27     Date Filed: 05/23/2025 Entry ID: 5519829
             1.     Appellants have not shown a history of enforcement against
                    others for similar conduct.

      Here, Appellants have not alleged a history of enforcement, either civil or

criminal, by the Appellees of the statute or its predecessor against themselves nor

have they identified enforcement against other members of the construction industry.

Appellants’ theory that they risk criminal prosecution for violating this civil statute

is especially weak. As Appellees argued to the district court, counsel has not located

a single criminal prosecution under the statute. (R. Doc. 22, at 19 n.16.)

      Appellants suggest that enforcement is imminent because Appellee Ellison

has a “history of going after employers for alleged employee misclassification.”

(App. Br. 18.) Appellants also point to Appellee Ellison’s past enforcement of a

different statute against Arise Virtual Solutions, a case involving gig workers in the

customer service industry as evidence that the statute will be enforced against them.

(App. 11; R. Doc. 1, at ¶ 28; App. 72-73; R. Doc. 12, at 12-13.) Again, Appellants

must allege that the future injury is directly related to both the statute and themselves

in a particularized manner. Instead, Appellants attempt to draw comparisons

between themselves and past enforcement against different companies in different

industries and with different statutes. Their speculative fears are an

“undifferentiated, generalized grievance about the conduct of government”

insufficient to establish standing. Lance v. Coffman, 549 U.S. 437, 442 (2007).




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  Appellate Case: 25-1480      Page: 28     Date Filed: 05/23/2025 Entry ID: 5519829
             2.     Appellants have not shown an express threat of enforcement
                    against them or their members.

      Appellants likewise have not proven an express threat of enforcement against

them or their members. While Appellants argue that Appellees could enforce the

statute against them in the future, conjecture is insufficient to establish standing.

Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 304 (1979).

      Appellants allege that Appellee Ellison will enforce the statute against its

members because the Minnesota Attorney General created a task force to address

worker misclassification. (App. Br. 18.) The task force’s purpose was to “make

practical, workable recommendations to the Legislature, State agencies, and other

government, industry, nonprofit organizations and advocates about how we can put

an end to the problem.” Id. It issued recommendations in December 2024, and it has

not met since then. (App. 69; R. Doc. 12, at 9.) A task force about general worker

misclassification, with no authority to either make law or enforce it, does not create

an imminent threat of enforcement. The documents Appellants cite in support of

their standing argument do not mention any of the Appellants, civil or criminal

enforcement, or the statute or its predecessor. Appellants attempt to paint a broad

picture of Appellee Ellison’s interests in worker misclassification, but fail to allege

anything specific to themselves or their members.

      As to Appellee DLI, Appellants argue that DLI seeks additional resources

from the Minnesota Legislature to enforce worker misclassification laws in both


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  Appellate Case: 25-1480     Page: 29     Date Filed: 05/23/2025 Entry ID: 5519829
construction and non-construction industries. (App. Br. 18-19.) Appellants cite to

budget proposals by DLI and the Governor for 2026–2027. (App. Br. 19.) Appellants

speculate that DLI will use those additional resources to enforce the statute against

Appellants, and that they will impose fines and bankrupt Appellants’ businesses at

some non-specific point in the future.

      What Appellants fail to mention is that those budget proposals are just that:

proposals. And even if the Minnesota Legislature passes a budget that includes more

funding for misclassification enforcement, Appellants have still not alleged any facts

indicating a particularized threat of enforcement that is “certainly impending.”

In re SuperValu, Inc., at 769. Appellants’ speculative theory is insufficient to

establish standing because, “a number of things must occur before appellants will

suffer an actual or even an imminent injury,” Johnson v. State of Mo., 142 F.3d 1087,

1089-90 (8th Cir. 1998). Most, if not all, of Appellants’ fears about DLI’s increased

enforcement budget are difficult, if not impossible, to predict and impermissibly

require speculative inferences to establish their injury. See, e.g., Simon v. E.

Kentucky Welfare Rts. Org., 426 U.S. 26, 45 (1976) (plaintiffs lacked standing

because “[s]peculative inferences are necessary to connect their injury to the

challenged actions” of the government).




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  Appellate Case: 25-1480     Page: 30    Date Filed: 05/23/2025 Entry ID: 5519829
             3.     Appellants’ argument about their intended course of action
                    does not prove a threat of enforcement as it is not
                    particularized and depends on the conduct of third parties.

      Appellants also argue that they have shown a credible threat of enforcement

because they intend to engage in a course of action within the plain text of the statute,

namely doing business with subcontractors. See Alexis Bailly Vineyard, Inc. v.

Harrington, 931 F.3d 774, 778 (8th Cir. 2019) (“Rather, when a course of action is

within the plain text of a statute, a “credible threat of prosecution” exists.”) (citing

North Dakota v. Heydinger, 825 F.3d 912, 917 (8th Cir. 2016)). But, “where a causal

relation between injury and challenged action depends upon the decision of an

independent third party . . . standing is not precluded but it is ordinarily substantially

more difficult to establish.” California v. Texas, 593 U.S. 659, 675 (2021) (quoting

Lujan, 504 U.S. at 562) (cleaned up). This theory does not save standing, however,

because Appellants’ course of conduct is not particularized and it depends on the

conduct of third parties.

      None of the Appellants’ alleged plans to engage in a course of conduct

regulated by the statute are particular or concrete. In Summers v. Earth Island

Institute, the Supreme Court ruled that environmental groups lacked standing to

challenge a Forest Service regulation exempting certain timber salvage sales from

the notice and comment period otherwise required by law. 555 U.S. at 490. The

Court rejected the plaintiffs’ affidavits alleging “plans to visit several unnamed



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  Appellate Case: 25-1480      Page: 31     Date Filed: 05/23/2025 Entry ID: 5519829
national forests in the future,” as insufficient because, among other reasons, “it [did]

not identify any particular site” or “particular timber sale.” Id. at 495; see also

California v. Texas, 593 U.S. at 671 (holding that being the “object” of a challenged

government action was not sufficient to establish standing, where there was no actual

or threatened enforcement). Similarly, Appellants have not identified any particular

project or any particular subcontractor that will violate the statute resulting in

enforcement that will cause actual or imminent harm.

        Appellants argue that the statute will cause certain, imminent injury because

they must either comply with the statute or fail to comply with the statute and face

penalties. (See R. Doc. 11, at 18.) The supporting affidavits similarly allege:

        Moreover, if the Statute goes into effect, JMC12 is confronted with this
        disturbing reality: (1) treat subcontractors’ and sub subcontractors’
        workers as its employees, incur significant expenses to do so (i.e., pay
        employee specific wages and benefits, which would significantly
        increase the labor costs for JMC), and risk financial harm; or (2) fail to
        treat those workers as its employees and face compensatory damages,
        and monetary and criminal penalties. Depending on the level of
        financial harm, JMC would have to take austerity measures to survive
        as a business, which may include obtaining financing to fund any
        additional expenses. And if the financial harm is severe, JMC would
        have no choice but to consider bankruptcy or shutting down its
        operations.




12
   This paragraph appears in two supporting affidavits. (App. 38-39; R. Doc. 2, at ¶
13; App. 46; R. Doc. 3, at ¶ 15.) The third affidavit states the third company faces a
similar choice: comply or face penalties; but the wording is different. (App. 55-56;
R. Doc. 4, at ¶ 18.)

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     Appellate Case: 25-1480   Page: 32     Date Filed: 05/23/2025 Entry ID: 5519829
(Add. 38-39; R. Doc. 2, at ¶ 13.) Essentially, Appellants argue that the cost of

complying with the statute constitutes an injury conveying standing because they

must treat all of their subcontractors’ and sub subcontractors’ workers as employees,

increasing their business costs. However, this argument relies on the assumption that

they will contract with subcontractors and sub subcontractors who will misclassify

their workers and fail to treat them as employees. That causal chain is insufficient to

convey standing because it is dependent on the actions of the subcontractors who are

not before the Court. California v. Texas, 593 U.S. at 675. Appellants ask the Court

to speculate that its subcontractors will certainly violate the law, creating liability

for Appellants. These types of speculative injuries are not sufficient to establish Art.

III standing. See Lujan, 504 U.S. at 561.

      Appellants’ standing theory boils down to generalized fears that they will be

held liable for contracting with subcontractors who do not comply with the statute.

But Appellants do not offer any affidavits from the subcontractors they fear will

violate the statute, nor do they identify them. Their alleged imminent harm rests

upon a course of conduct by independent third parties—subcontractors—who are

not before the Court.

      Appellants cite Hays v. City of Urbana, 104 F.3d 102 (7th Cir. 1997), to argue

that they need only show they must pay to comply with the statute. Hays supports

Appellees’ argument. In that case, the court concluded the plaintiff landlords did not


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  Appellate Case: 25-1480     Page: 33      Date Filed: 05/23/2025 Entry ID: 5519829
have standing. Although they alleged the cost of complying with the Section 8

program would be costly, they had not alleged that any of their current or potential

tenants could receive Section 8 assistance at their properties. Id. at 104. Appellants

have likewise not alleged that certain workers are treated as independent contractors

and that it would be expensive for Appellants to follow the fourteen-factor test so

that the workers are independent contractors under the statute.

         Appellants’ theory of standing is built on broad, bare assertions that are

neither particularized nor certain.13 Because Appellants lack standing, this Court and

the district court lack jurisdiction over their claims. See Lujan, 504 U.S. at 559; see

also Smith v. Golden China of Red Wing, Inc., 987 F.3d 1205, 1210 (8th Cir. 2021).14

II.      DATAPHASE FACTORS AND STANDARD OF REVIEW.

         A preliminary injunction “is an extraordinary remedy never awarded as of

right.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). Its primary

function is to preserve the status quo, until upon final hearing, a court may grant full

effective relief. Wilbur-Ellis Co., LLC v. Erikson, 103 F.4th 1352, 1355 (8th Cir.


13
   Appellants MNABC and BAM assert standing based on their members. Because
the individual Appellant and the only identified MNABC and BAM members do not
have standing, neither do Appellants MNABC and BAM. Higgins Elec., Inc. v.
O’Fallon Fire Prot. Dist., 813 F.3d 1124, 1128 (8th Cir. 2016).
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  Subject-matter jurisdiction may be raised for the first time on appeal. City of
Kansas City, Mo. v. Yarco Co., 625 F.3d 1038, 1040 (8th Cir. 2010).




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      Appellate Case: 25-1480   Page: 34   Date Filed: 05/23/2025 Entry ID: 5519829
2024). The party seeking preliminary injunctive relief “bears the burden of

establishing the necessity of this equitable remedy.” General Motors Corp. v. Harry

Brown’s, LLC, 563 F.3d 312, 316 (8th Cir. 2009). In determining whether to grant a

preliminary injunction, the district court must consider (1) the probability that the

movant will succeed on the merits; (2) the threat of irreparable harm to the movant;

(3) the state of the balance between this harm and the injury that granting the

injunction will inflict on other parties; and (4) the public interest. Dataphase Sys.,

Inc. v. C L Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981). When deciding whether to

grant a preliminary injunction, courts ask “whether the balance of equities so favors

the movant that justice requires the court to intervene to preserve the status quo until

the merits are determined.” Morehouse Enter., LLC v. Bureau of Alcohol, Tobacco,

Firearms & Explosives, 78 F.4th 1011, 1016 (8th Cir. 2023).

      A party seeking to enjoin legislation bears the heavy burden of establishing as

a threshold matter that it is likely to succeed on the merits. This Court reasoned in

Planned Parenthood of Minn., N.D., S.D. v. Rounds as follows: “[A] more rigorous

standard ‘reflects the idea that governmental policies implemented through

legislation or regulations developed through presumptively reasoned democratic

processes are entitled to a higher degree of deference and should not be enjoined

lightly.’” 530 F.3d 724, 732 (8th Cir. 2008) (emphasis added) (internal citation

omitted).


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  Appellate Case: 25-1480     Page: 35     Date Filed: 05/23/2025 Entry ID: 5519829
        On appeal, this Court reviews the district court’s factual findings for clear

error, the legal conclusions de novo, and “the ultimate decision to [deny] the

injunction” for an abuse of discretion. Heartland Acad. Cmty. Church v. Waddle,

335 F.3d 684, 689-90 (8th Cir. 2003).15

III.    THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION WHEN IT
        CONCLUDED APPELLANTS DID NOT SATISFY THE DATAPHASE FACTORS.

        Under the rigorous standard that applies to statutory challenges, the district

court did not abuse its discretion when it concluded Appellants were unlikely to

succeed on the merits of their vagueness and Excessive Fines claims. The vagueness

claim is unlikely to succeed because the statute provides fair notice of what it

prohibits and does not encourage arbitrary enforcement. Indeed, without the

14-factor test, Appellants would be subjected to a less clear common law test.

Further, applying principles of statutory interpretation, the statute is not vague.

Similarly, the Excessive Fines claim is unlikely to succeed because the statute has

remedial applications, and this claim is not cognizable in a pre-enforcement posture.

Finally, the district court did not abuse its discretion when it concluded Appellants




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    Appellants do not argue that any of the district court’s factual findings were
clearly erroneous. The closest they come is to argue that the “district court
erroneously found, ‘The only harm Plaintiffs allege is economic harm.’” (App. Br.
54 n.13.) That’s not a challenged finding so much as Appellants’ disagreement with
the district court’s interpretation of the record. In any event, it was not clearly
erroneous. (See, e.g., App. 38, at ¶ 13; R. Doc. 2, at ¶ 13 (discussing financial harm).)

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     Appellate Case: 25-1480   Page: 36     Date Filed: 05/23/2025 Entry ID: 5519829
did not meet the remaining Dataphase factors and denied the motion for preliminary

injunction and temporary restraining order.

        A.    The district court did not abuse its discretion when it concluded
              Appellants were unlikely to succeed on the merits of their void-for-
              vagueness challenge.

              1.     The standard.

        Although Appellants bring a facial challenge, vagueness challenges that do

not involve the First Amendment must be examined in light of the specific facts of

the case at hand. United States v. Nadi, 996 F.2d 548, 550 (2d Cir. 1993) (citing

Chapman v. United States, 500 U.S. 453, 467 (1991)); see also United States v.

Bramer, 832 F.3d 908, 909-10 (8th Cir. 2016) (a facial void-for-vagueness claim

fails when the as-applied challenge fails).16 Accordingly, the Court should analyze

whether the statute violates the due process clause as applied to the specific facts of

this case. Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 495

n.7 (1982). This presents a problem for Appellants as Appellants have not alleged a

scintilla of evidence that the statute or its predecessor has been enforced in a

discriminatory manner. Thus, a party must show that the challenged statute “lacks


16
   United States v. Stupka, 418 F. Supp. 3d 402 (N.D. Iowa 2019), has a helpful
discussion of when facial void-for-vagueness challenges are permissible: (1) when
a fundamental right such as the First Amendment is threatened or (2) when there is
a “high risk that a law is unconstitutionally vague under the second prong of the
void-for-vagueness test.” Id. at 408-09. Here, Appellants’ claim fails regardless of
how it is characterized because they cannot show the statute is vague as applied to
any specific situation that any Appellant faces. See Bramer, 832 F.3d at 909-10.

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     Appellate Case: 25-1480   Page: 37    Date Filed: 05/23/2025 Entry ID: 5519829
specificity as to [their] own behavior and not as to some hypothetical situation” in

order to prevail on a void-for-vagueness challenge. United States v. Trudell, 563

F.2d 889, 892 (8th Cir. 1977).

      Here, Appellants have not alleged any specific behavior that they engage in

or intend to engage in that is impacted by the statute. Even if a broad reading of the

statute leaves certain situations up to interpretation, Appellants have failed to

establish that the statute is unconstitutionally vague as applied to their actual

conduct. See Hill v. Colorado, 530 U.S. 703, 733 (2000) (speculation about possible

vagueness in hypothetical situations “will not support a facial attack on a statute

when it is surely valid in the vast majority of its intended applications.” (quotation

omitted)).

      In keeping with due-process principles, a law is void for vagueness “if its

prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104,

108 (1972). “A two-part test determines whether a statute is vague: ‘The statute must

first provide adequate notice of the proscribed conduct, and second, not lend itself

to arbitrary enforcement.’” Metro. Omaha Prop. Owners Ass'n, Inc. v. City of

Omaha, 991 F.3d 880, 886 (8th Cir. 2021) (quoting United States v. Barraza, 576

F.3d 798, 806 (8th Cir. 2009)). “‘[F]lexibility and reasonable breadth’ are acceptable

as long as it is ‘clear what the [rule] as a whole prohibits.’” Rowles v. Curators of

Univ. of Mo., 983 F.3d 345 (8th Cir. 2020) (quoting Grayned, 408 U.S. at 110).


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  Appellate Case: 25-1480     Page: 38    Date Filed: 05/23/2025 Entry ID: 5519829
             2.     The statute provides adequate notice.

      The vagueness challenge is unlikely to succeed because the statute provides

adequate notice. Appellants argue several words are vague without discussing how

courts interpret statutes. Indeed, as to each so-called vague word or phrase,

Appellants make little attempt to ascertain the meaning. True, none of the words or

phrases identified by Appellants are defined by Chapter 181, but that does not end

the analysis. See Boos v. Barry, 485 U.S. 312, 332 (1988) (considering word in

context, noting the statute “communicates its reach in words of common

understanding,” and concluding the statute was not vague although it did not define

the word “peace”); see also Nelson v. Schlener, 859 N.W.2d 288, 293 (Minn. 2015)

(there is no need for statutory definitions when the common meaning suffices).

      Chapter 645 guides the interpretation of Minnesota statutes. Words and

phrases “are construed according to rules of grammar and according to their common

and approved usage.” Minn. Stat. § 645.08(1); see also Matter of Surveillance and

Integrity Review, 996 N.W.2d 178, 186 (Minn. 2023) (consulting a dictionary to

determine meaning of a word). “[T]echnical words and phrases and such others as

have acquired a special meaning, or are defined in this chapter, are construed

according to such special meaning or their definition.” Minn. Stat. § 645.08(1).

      Additionally, businesses and their trade associations “can be expected to

consult relevant legislation in advance of action. . . . [T]he regulated enterprise may



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  Appellate Case: 25-1480     Page: 39     Date Filed: 05/23/2025 Entry ID: 5519829
have the ability to clarify the meaning of the regulation by its own inquiry, or by

resort to an administrative process.” Hoffman Estates, 455 U.S. at 498. In fact, DLI

has released publicly available documents to help the construction industry

understand and comply with the statute.17

        With these principles in mind, the words and phrases Appellants identify are

not constitutionally vague.

        First, Appellants argue “main expenses and costs related to” is vague. (App.

Br. 35.) But the Minnesota Court of Appeals has already interpreted a similar phrase

in a previous version of the statute. See Nelson v. Levy, 796 N.W.2d 336, 340 (Minn.

Ct. App. 2011) (holding the scope of the contract determines main expenses).

Appellants cite Video Software Dealers Ass'n v. Webster, 968 F.2d 684, 690 (8th

Cir. 1992), where this Court held in a First Amendment challenge that the term

“violence” was unconstitutionally vague. That case differs because the Minnesota

Court of Appeals has interpreted the relevant language, and there is no First

Amendment interest at play. As explained by this Court, Miller required a specific

definition of “sexual conduct” in either statute or as construed by state courts. Id.

(citing Miller v. California, 413 U.S. 15, 24 (1973)). The definition of “violence”



17
    See App. 165-176; R. Doc. 12, at 105-116; Employee Misclassification,
Minn.            Dep’t            of          Labor           &         Industry,
https://www.dli.mn.gov/sites/default/files/pdf/presentation_employee_misclassific
ation.pdf, archived at https://perma.cc/L8KD-JM2T.

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     Appellate Case: 25-1480   Page: 40   Date Filed: 05/23/2025 Entry ID: 5519829
was critical in Video Software Dealers because it affected First Amendment

protections: obscene material is unprotected by the First Amendment. Miller,

413 U.S. at 23.

      Second, Appellants argue that the phrase “commission or per-job or

competitive bid basis and not on any other basis” is unconstitutionally vague. (App.

Br. 37.) This is a plain language term with common meaning. Job is defined as “a

specific piece of work to be done for a set fee.” The American Heritage Dictionary

of the English Language 969 (3d ed. 1992). And this phrase has been interpreted by

Minnesota courts. See St. Croix Sensory Inc. v. Dep’t of Emp. & Econ. Dev.,

785 N.W.2d 796, 798 (Minn. Ct. App. 2010) (determining workers were paid “per

job” because they were “paid for each session,” where “sensory assessors []

perform[ed] odor evaluations”). Whether a particular arrangement is “per job” may

depend on the nature of the agreement or contract. Rather than point to a specific

contract and specific project, Appellants pose unspecific hypotheticals.

      Third, Appellants claim that the common business term “invoice” is vague.

(App. Br. 38.) An invoice is “a detailed list of goods shipped or services rendered,

with an account of all costs; an itemized bill.” The American Heritage College

Dictionary 715 (3d ed. 1993) (defining “invoice”); The American Heritage

Dictionary of the English Language 949 (3d ed. 1992) (same). Invoice is a common




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  Appellate Case: 25-1480    Page: 41    Date Filed: 05/23/2025 Entry ID: 5519829
business term, and it was a word that existed in the last version of the statute.18 It is

not vague.

         Fourth, Appellants argue that the phrase “identifies the specific services to be

provided or performed under the contract” is vague. (App. Br. 39.) 19 But every single

one of the words in the statutory phrase has common and well-defined meaning,

including “identifies,” “specific,” and “services.” Appellants’ only argument for

why it is vague is that someone provided a non-specific example to DLI for its FAQs

and DLI said it would need more information. Specifically, the FAQ says:

         Where written contracts reference and incorporate other documents,
         such as plans and specifications, those documents may be examined
         together as part of the written contract to determine if the independent
         contractor requirements are satisfied.

(App. 174; R. Doc. 12, at 114.) In this lawsuit, Appellants do not present any of

those documents, so this Court is left in much the same position—in hypothetical

territory.

         Fifth, Appellants argue that “realize additional profit or suffer a loss” is vague.

(App. Br. 39.) But profit and loss are common phrases that are not unique to this

statute. See The American Heritage Dictionary of the English Language 1446 (3d ed.


18
     See Minn. Stat. § 181.723, subd. 4(b)(2) (2023) (invoice).
19
  Below, Appellants did not argue this language was vague, so this argument is
waived on appeal. Sanzone v. Mercy Health, 954 F.3d 1031, 1045 (8th Cir. 2020).
Instead, they argued the need for a written contract was contrary to common industry
practice. (R. Doc. 11, at 14.)

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     Appellate Case: 25-1480     Page: 42     Date Filed: 05/23/2025 Entry ID: 5519829
1992) (defining profit as “[t]he return received on a business undertaking after all

operation expenses have been met”). If a worker is paid per hour and the pay is

unaffected by how profitable (or not) the company is, then the worker does not

realize “additional profit or suffer a loss.”

        Sixth, Appellants argue the statute does not define the length of the

employment relationship. (App. Br. 40.) Persons of ordinary intelligence

understand, for example, that if a subcontractor’s worker is an employee of a general

contractor pursuant to Section 181.723, subdivision 4(b), the general contractor must

treat that worker as an employee for however long the worker is providing or

performing construction or improvement services for the general contractor. Further,

if there was no fourteen-part test, this is still something a court would have to

determine. An employment relationship affects access to workers’ compensation,

and unemployment insurance, among other things. Courts can and do determine

employment relationships even when statutes do not expressly state the length. 20


20
   In D.C. v. City of St. Louis, Mo., 795 F.2d 652, 654 (8th Cir. 1986), plaintiffs had
been arrested and charged with violating an ordinance criminalizing “indecent or
lewd act of behavior.” This Court was persuaded by an Iowa Supreme Court
decision that concluded “although the words ‘lewdness’ and ‘indecent’ have often
been defined, the very phrases and synonyms through which meaning is purportedly
ascribed serve to obscure rather than clarify those terms.” State v. Kueny,
215 N.W.2d 215, 217 (Iowa 1974). In other words, “the common usage of the terms
‘indecent’ and ‘lewd’ has eroded the effective employment of such terms” in statutes
unless there are statutory definitions. D.C., 795 F.2d at 654. Here, Appellants do
not point to any common usage of words that has “eroded” the effective use of the
(Footnote Continued on Next Page.)

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     Appellate Case: 25-1480   Page: 43     Date Filed: 05/23/2025 Entry ID: 5519829
              3.     The statute contains neutral limitations that prevent
                     arbitrary enforcement.

        The vagueness challenge is also unlikely to succeed because the statute does

not lend itself to arbitrary enforcement.

        “In evaluating a facial challenge to a state law, a federal court must, of course,

consider any limiting construction that a state court or enforcement agency has

proffered.” Hoffman Estates, 455 U.S. at 495. Because textual components such as

these impose “neutral limitations” on the officials who enforce and apply a statute,

Kolender v. Lawson, 461 U.S. 352, 360 (1983), their inclusion brings into focus the

precise conduct that a statute proscribes and fairly narrows that statute’s reach.

        In this matter, the statute contains neutral limitations in the form of judicial

review that restrict how Appellees may enforce the statute. A violation of Section

181.723 may result in DLI issuing a compliance order under Section 177.27, subd.

4.21 Subdivision 4 reads in relevant part:



terms in statutes. Geiger v. City of Eagan, 618 F.2d 26 (8th Cir. 1980), is likewise
distinguishable as this Court observed the common understanding of “any pipe or
other object suitable to be used for smoking” is that the words describe tobacco
smoking accessories and not drug paraphernalia. Id. at 29. Appellants do not offer
competing common understandings of terms they allege are unconstitutionally
vague. For example, Appellants do not offer a common understanding of “profit” or
“loss” that renders the statute vague. (Id. at 39-40.)
21
   Section 326B.081, subd. 3, also incorporates the statute in its definition of
applicable law. Pursuant to Section 326B.082, subd. 7(a), and 326B.082, subd.
11(b)(1)-(2), DLI may issue licensing or administrative orders for violations of
(Footnote Continued on Next Page.)

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     Appellate Case: 25-1480    Page: 44     Date Filed: 05/23/2025 Entry ID: 5519829
      The department shall serve the order upon the employer or the
      employer's authorized representative in person or by certified mail at
      the employer's place of business. An employer who wishes to contest
      the order must file written notice of objection to the order with the
      commissioner within 15 calendar days after being served with the order.
      A contested case proceeding must then be held in accordance with
      sections 14.57 to 14.69 or 181.165. If, within 15 calendar days after
      being served with the order, the employer fails to file a written notice
      of objection with the commissioner, the order becomes a final order of
      the commissioner.

Minn. Stat. § 177.27, subd. 4 (emphasis added). This section limits the discretion of

DLI to enforce the statute as the employer may challenge the agency’s determination

through the normal chapter 14 administrative process. In other words, the employer

may bring their case before an administrative law judge, present evidence, and cross-

examine witnesses or otherwise litigate the agency’s decision. See Minn. Ch. 14.57-

62. The employer may then appeal the administrative law judge’s decision directly

to Minnesota’s appellate courts. Minn. Stat. § 14.63-69. In short, there are

constitutional safeguards in the form of judicial review that prevent arbitrary

enforcement of the statute. See FW/PBS, Inc. v. Dallas, 493 U.S. 215, 230 (1990)

(failure to provide prompt judicial review of First Amendment regulation renders

ordinance unconstitutional); see also Deja Vu of Nashville, Inc. v. Metro. Gov't of




Section 181.723. See also Minn. Stat. § 326B.082, subd. 8 (administrative
proceedings to contest the administrative order); Minn. Stat. § 326B.082, subd. 12
(providing for contested-case hearings under chapter 14); Minn. Stat. § 326B.083,
subd. 3(c) (addressing administrative and licensing orders with penalties and an
administrative law judge’s review).

                                          32
  Appellate Case: 25-1480    Page: 45     Date Filed: 05/23/2025 Entry ID: 5519829
Nashville, 274 F.3d 377, 401 (6th Cir. 2001) (safeguards were inadequate where

neither ordinance nor state law provided for prompt judicial review).

        Appellants argue the administrative process is irrelevant. (App. Br. 41-42.)

That argument ignores binding precedent in this Circuit. See, e.g., Metro. Omaha

Prop. Owners Ass’n, 991 F.3d at 887 (the right to an appeal undercuts an argument

a statute lends itself to arbitrary enforcement).22

              4.     Appellants’ actual disagreement is that the statute is too
                     specific.

        There is no dispute that construction companies have different obligations

with respect to employees versus independent contractors (related to benefits,

entitlement to workers’ compensation insurance, etc.). Absent the 14-part test,

companies and the courts will still have to assess whether a person is an employee

or not. To do so, courts will adopt multi-factor tests. Such tests are classic court-

created tests, the scope of which are teased out through litigation. For example,

Minnesota courts have used five factors to determine whether a worker is an

employee or independent contractor: “(1) The right to control the means and manner

of performance; (2) The mode of payment; (3) The furnishing of materials and tools;



22
   Contrary to Appellants’ suggestion that the statute lacks an enforcement
mechanism containing standards, (App. Br. 25-26), it states “[t]his section may be
investigated and enforced under the commissioner's authority under state law.”
Minn. Stat. § 181.723, subd. 12(h); see also Minn. Stat. § 177.27, subd. 4 (referring
to Section 181.723); supra n.8.

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     Appellate Case: 25-1480   Page: 46     Date Filed: 05/23/2025 Entry ID: 5519829
(4) The control of the premises where the work is done; and (5) The right of the

employer to discharge.” Unzen v. City of Duluth, 683 N.W.2d 875, 881 (Minn. Ct.

App. 2004), rev. denied (Minn. Oct. 27, 2004) (applying test in personal injury case

to determine whether the worker was an agent—i.e., employee—or an independent

contractor); see also Guhlke v. Roberts Truck Lines, 128 N.W.2d 324, 326 (Minn.

1964) (discussing same factors in workers’ compensation case). Whether a worker

is an independent contractor or an employee is a question of fact. Holzemer v. Minn.

Milk Co., 259 N.W.2d 592, 593 (Minn. 1977). Evidence that an employer controls

the means and manner of performance tends to prove an employment

relationship. Hammes v. Suk, 190 N.W.2d 478, 481 (Minn. 1971). “[T]he furnishing

of materials and tools by the employer” is also evidence of an employment

relationship. Id.23

        Employing a common law multi-factor test such as the one discussed above

would create less certainty but would advantage large well-resourced companies that

can hire attorneys. In other words, the 14-factor test is specific. Appellants’ real

problem with the test is not that it is vague; the real problem is that it is specific and

will make it difficult for them to ignore their obligations.



23
   Courts have also adopted employer tests under the FLSA. See, e.g., Tony & Susan
Alamo Found. v. Sec’y of Lab., 471 U.S. 290, 301 (1985) (discussing the “economic
reality” test).


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     Appellate Case: 25-1480   Page: 47     Date Filed: 05/23/2025 Entry ID: 5519829
                                         ****

       In sum, Appellants are unlikely to succeed on either prong of the void-for-

vagueness analysis. The statute sufficiently defines proscribed conduct “in a manner

that does not encourage arbitrary and discriminatory enforcement.” Kolender,

461 U.S. at 357. Accordingly, the statute satisfies the constitutional requirements of

due process, and Appellants’ constitutional challenge should be rejected.

             5.     Heightened scrutiny does not apply.

      The district court was correct not to apply heightened scrutiny when

determining whether the statute is unconstitutionally vague because the statute is

inherently civil, not criminal in nature. The statute is found in Chapter 181 of the

Minnesota Statutes, under the subsection “Labor, Industry.” Chapter 181 is titled

“Employment.” If the statute was criminal in nature, it would be found in

Section 609, the Criminal Code. See, e.g., State v. Newell, Index # 1, Case No. 27-

CR-23-445 (Henn. Cnty. Dist. Ct. Jan. 6, 2023) (charging subcontractor under

Section 609.52 for paying employees at a rate lower than the required prevailing

wage); see also Minn. Stat. § 609.52, subd. 1(13) (wage theft occurs when an

employer engages in certain conduct “with intent to defraud”). Furthermore, the

statute does not have a prohibitory or stigmatizing effect to render it quasi-criminal;

rather, the statute gives the Commissioner the authority to impose fines when

violations occur. Hoffman Estates, 455 U.S. at 489, 499 (prohibitory or stigmatizing



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  Appellate Case: 25-1480     Page: 48     Date Filed: 05/23/2025 Entry ID: 5519829
effect renders statute quasi-criminal). The statute is clearly aimed at regulating

economic behavior, not protecting society or preventing crime.

        When courts evaluate a vagueness challenge to economic regulations like the

statute, they apply a “less strict vagueness test.” Id. at 498; Chalmers v. City of Los

Angeles, 762 F.2d 753, 757 (9th Cir. 1985) (quoting Hoffman Estates, 455 U.S. at

498–99) (“[G]reater tolerance is permitted with legislation imposing only civil rather

than criminal penalties.” (internal quotation marks omitted)). There are two

justifications for a less strict test for economic or business regulations. First, “its

subject matter is often more narrow, and [ ] businesses . . . can be expected to consult

relevant legislation in advance of action.” Chalmers, 762 F.2d at 757 (citation

omitted). Second, “the regulated enterprise may have the ability to clarify the

meaning of the regulation by its own inquiry, or by resort to an administrative

process.” Id. (citation omitted). Here, the statute’s subject matter is narrow: to

regulate employers that use independent contractors in the construction industry.

Appellants clearly consulted with the legislature in advance of the statute’s passage

as they testified to the Legislature.24 Finally, Appellants are able to ask about the

meaning of the statute’s regulation by asking DLI questions on a case-by-case basis

or by appealing violations through the administrative process outlined in chapter 14.


24
   House Labor & Industry Finance & Policy Committee, March 5, 2024, available
at https://www.youtube.com/watch?v=Bg2FIliLG-k (starting at 54:59; see also
56:00-56:13; 57:50-58:29).

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     Appellate Case: 25-1480   Page: 49    Date Filed: 05/23/2025 Entry ID: 5519829
In sum, because the statute regulates purely economic activity, the Court should

apply a less strict vagueness test. Hoffman Estates, 455 U.S. at 498.

        Appellants argue that the statute is criminal in nature because violations may

lead to criminal prosecution under different statutes. (App. Br. 33.) But the statute

that Appellants are challenging does not impose criminal penalties for violations.

Section 181.721, subdivisions 1, 4-5, and Section 181.74, subdivision 1, are different

statutes that may carry criminal penalties. Section 181.74, subdivision 1,25 is a

general wage payment statute that requires employers to make timely payments to

their employees. Section 326B.082, subdivision 16, makes a violation of Section

181.723 a misdemeanor.

        Appellants’ fears about criminal enforcement of other statutes only confirms

that the challenged statute is not criminal. Indeed, the Commissioner does not have

criminal prosecutorial authority. At most, the Commissioner could impose fines,

which employers are able to challenge with the same administrative protections and

restrictions as any other administrative decision. See Minn. Stat. § 14.045,

subds. 1-3.26



25
  Counsel for Appellees were unable to find a single instance of State criminal
prosecution under Section 181.74, subd. 1, since 2007.
26
   Further, the Attorney General’s wage theft activity is civil. See In the Matter of
Arise Virtual Solutions, Settlement Agreement (unfiled) (Ramsey Cnty.),
https://www.ag.state.mn.us/Office/Communications/2024/docs/Arise_AoD.pdf,
(Footnote Continued on Next Page.)

                                           37
     Appellate Case: 25-1480   Page: 50    Date Filed: 05/23/2025 Entry ID: 5519829
      Because the statute is clearly a civil, rather than a criminal, regulation, the

district court did not abuse its discretion when it declined to apply heightened

scrutiny.

      B.     The district court did not abuse its direction when it concluded
             Appellants are unlikely to succeed on their Excessive Fine claim.

      Appellants also argue that enforcement of Minnesota’s construction

misclassification statute should be enjoined because the fines that could be imposed

violate the Eighth Amendment’s prohibition on excessive fines. This argument fails

for two reasons. First, it is questionable whether the Eighth Amendment applies to

the statute’s fines. But even if it did apply, on a pre-enforcement basis there is simply

no way for a court to conduct the fact-intensive inquiry necessary to determine that

a fine is excessive. This Court should not assume that future fines imposed would

violate the Constitution.

             1.     The standard.

      A facial challenge to a statute’s constitutionality is the “most difficult

challenge to mount successfully.” United States v. Rahimi, 602 U.S. 680, 708 (2024)

(Gorsuch, J., concurring) (citing United States v. Salerno, 481 U.S. 739, 745 (1987)).

“‘A facial challenge is really just a claim that the law or policy at issue is

unconstitutional    in all its    applications,’   regardless    of    the    individual


unless a criminal matter is referred to the Attorney General by a county attorney.
Minn. Stat. § 8.01.

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  Appellate Case: 25-1480        Page: 51   Date Filed: 05/23/2025 Entry ID: 5519829
circumstances.” United States v. Veasley, 98 F.4th 906, 909 (8th Cir.

2024) (quoting Bucklew v. Precythe, 587 U.S. 119, 138 (2019)). To prevail on this

sort of challenge, Appellants must show that “no set of circumstances” exist in which

the statute can be applied without violating the relevant constitutional principle.

Salerno, 481 U.S. at 745.

      Because there are no “individual circumstances” for the Court to consider,

Veasley, 98 F.4th at 909, this Court should treat Appellants’ lawsuit as advancing a

facial challenge. See also Moody v. NetChoice, LLC, 603 U.S. 707, 723 (2024)

(quotation omitted) (a representative suit brought on behalf of thousands of

organizations in this way necessarily claims that “a substantial number of [the law’s]

applications are unconstitutional”).

             2.    The Eighth Amendment is not implicated because the
                   statute’s fines are civil and required to be tailored to specific
                   conduct.

      The rationale of the Eighth Amendment’s prohibition on excessive fines is to

prevent the government from enriching itself through punishments designed without

regard for the goals of retribution and deterrence. See Harmelin v. Michigan,

501 U.S. 957, 979 n.9 (1990). Payments to the government are subject to the

application of the Excessive Fines Clause when they are imposed as punishment for

an offense. Austin v. U.S., 509 U.S. 602, 609-10 (1993). Punishments are those that

serve retributive or deterrent purposes rather than primarily remedial purposes. Id.



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  Appellate Case: 25-1480     Page: 52    Date Filed: 05/23/2025 Entry ID: 5519829
Reimbursing the government for losses is remedial. United States v. Bajakajian,

524 U.S. 321, 342 (1998). Section 181.723 has remedial applications and could be

imposed based on the costs incurred by the government in pursuing the action. It

also, as the district court noted, is required to be tailored to specific conduct under

Section 14.045, subd. 3, and is not mandatory.

      Like the early customs statutes and civil in rem forfeitures discussed in

Bajakajian, then, the misclassification statute’s system of fines is not penal and not

subject to the Excessive Fines Clause. 524 U.S. at 340-43.

             3.     This Court should decline to hold that hypothetical future
                    fines would be unconstitutionally excessive.

      Even if the statute were punitive, the Court cannot analyze an Excessive Fines

claim with no record. Appellants did not cite a single pre-enforcement Excessive

Fines case at the district court, and they do not cite one here. (Add. 16; App. 219;

R. Doc. 18, at 10.) There is good reason for that; Excessive Fines analysis is

“fact-intensive.” United States v. Bieri, 68 F.3d 232, 236 (8th Cir. 1995). A court

must look at the size of the fine compared to the gravity of the offense to see if it is

proportional. See Bajakajian, 524 U.S. at 334. Proportionality is based on ability to

pay, sanctions for comparable misconduct, the reprehensibility of the conduct, etc.

See United States v. Aleff, 772 F.3d 508, 512 (8th Cir. 2014). But here, without any

record, the Court cannot analyze any of those facts.




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  Appellate Case: 25-1480     Page: 53     Date Filed: 05/23/2025 Entry ID: 5519829
        Appellants try to evade the obvious record issues by speculating about being

sanctioned with the largest possible fine and simultaneously speculating about the

innocence of their conduct. Appellants’ speculation about a yet-to-be-imposed fine,

based on yet-to-occur conduct, cannot possibly justify enjoining all enforcement of

the statute on Excessive Fines grounds.27

        The challenges of a proportionality analysis with few or no facts can be seen

in other contexts.28 In a False Claims Act case regarding Medicare fraud, the Seventh

Circuit noted that “it is impossible to know whether the penalty is constitutionally

‘excessive’ without knowing what conduct the fine penalizes.” United States v.



27
    In any event, Appellants’ speculation is unmoored from the statute’s text. The
statutory scheme contains a built-in proportionality requirement because Minnesota
law sets a limit on all fines subject to an agency’s discretion, including fines imposed
pursuant to Minn. Stat. § 181.723. The proportionality limit requires agencies to
consider factors such as the economic benefit gained by committing the violation,
the willfulness of the violation, the damage to humans, animals, and natural
resources, etc. Minn. Stat. § 14.045.
28
   The purposes for other monetary proportionality analyses may differ, leading to
different determinations regarding when fines or damages are disproportionate.
Harmelin, 501 U.S. at 979 n.9 (the Excessive Fines Clause scrutinizes punitive fines
to ensure the State does not derive a financial benefit out of proportion to penal
goals); Capitol Records, Inc. v. Thomas-Rasset, 692 F.3d 899, 907-08 (8th Cir.
2012) (noting that statutory damages don’t have the same “fair notice” concerns that
jury-awarded punitive damages do); Browning-Ferris Industries of Vt., Inc. v. Kelco
Disposal, Inc., 492 U.S. 257, 274-75 (1989) (holding that punitive damages awarded
to a private party are not fines subject to the Eighth Amendment). But the analyses
depend on consideration of similar types of facts. See Grant on behalf of United
States v. Zorn, 107 F.4th 782, 798 (8th Cir. 2024), pet. for cert. docketed
(Feb. 7, 2025); United States v. Rogan, 517 F.3d 449, 454 (7th Cir. 2008).

                                            41
     Appellate Case: 25-1480   Page: 54     Date Filed: 05/23/2025 Entry ID: 5519829
Rogan, 517 F.3d 449, 454 (7th Cir. 2008). In a case regarding statutory damages for

online distribution of copyrighted music, this Court rejected an argument that a

jury’s award of statutory damages should be struck down because a hypothetical

award extrapolated from it would be “obviously excessive and unreasonable.”

Capitol Records, Inc. v. Thomas-Rasset, 692 F.3d 899, 910 (8th Cir. 2012). The

Court pointed out that the hypothetical future award could be left to a future fact

finder. “If and when a jury returns a multi-million dollar award for noncommercial

online copyright infringement, then there will be time enough to consider it.” Id.

Similarly, if Appellees ever sought a disproportionately high fine for relatively

innocent conduct, a future court can consider the fine with the benefit of a full record.

There is no reason to assume that future courts will permit unconstitutionally

excessive fines and no reason to find that the statute is facially invalid just because

it theoretically allows some penalties that would be unconstitutional as applied to

some conduct.29


29
   Appellants argue that a pre-enforcement action may be sustained when a
fundamental right is at issue. (App. Br. 47.) They cite Susan B. Anthony List v.
Driehaus, 573 U.S. 149, 158-60 (2014). They argue that they have an explicit,
fundamental right to be free of excessive fines under the Eighth Amendment, so like
the plaintiffs in Driehaus, they intend to engage in a constitutionally protected
course of conduct that is being chilled. But Driehaus involved the First Amendment;
it wasn’t about Excessive Fines whatsoever. Further, they do not cite any case for
the proposition that this case involved a fundamental right. Understood properly,
Appellants’ argument here is actually that the potential maximum fines at issue here
are large enough to modify their conduct. (App. Br. 47.) What is being “chilled” by
(Footnote Continued on Next Page.)

                                            42
     Appellate Case: 25-1480   Page: 55     Date Filed: 05/23/2025 Entry ID: 5519829
      C.     The district court did not abuse its discretion when it concluded
             Appellants did not satisfy the remaining Dataphase factors.

      Because the Appellants are unlikely to succeed, the district court could have

denied the injunction on that basis alone. But the remaining Dataphase factors all

weigh against issuing preliminary injunctive relief too.

             1.     Appellants will not suffer irreparable harm from the denial
                    of an injunction.

      Appellants object to the district court order concluding that the only potential

harm they allege is economic. (App. Br. 54 n.13.) They argue that their constitutional

rights are being infringed and that this demonstrates an irreparable injury. Just as

with the argument above regarding the Eighth Amendment’s prohibition on

excessive fines, Appellants conflate their arguments that the statute is

unconstitutional with the analysis of whether fundamental constitutional rights are

being infringed while the statute is in effect. Any time a statute’s constitutionality is

challenged there are constitutional rights at issue. That does not create irreparable

harm on its own. In particular, Appellants cite case law regarding medical care that

are simply in a different category to the type of harm at issue here. (Id. at 54-55.)




the potential for fines is not the exercise of any fundamental right, but rather the
ability to engage in business in precisely the same way they have in the past. But
that is just how economic regulation works. If Appellants’ theory was the standard,
all state regulation of economic activity would be curtailed.

                                            43
  Appellate Case: 25-1480      Page: 56     Date Filed: 05/23/2025 Entry ID: 5519829
      The district court was correct to conclude that the harm from the denial of an

injunction is limited to economic harm, and economic harm does not typically

qualify as irreparable harm. Packard Elevator v. I.C.C., 782 F.2d 112, 114

(8th Cir. 1986). That is because monetary harm can be redressed.

      Appellants attempt to avoid this conclusion by arguing because of Eleventh

Amendment immunity their potential monetary losses here do create irreparable

harm. They argue that they cannot sue to retroactively recover expenses incurred in

trying to comply with the statute if the statute is later found to be unconstitutional.

But they do not provide concrete, calculable, or definite estimates of how much it

would cost to comply with the statute, which is fatal to their argument. See id. (“First,

the injury must be both certain and great; it must be actual and not theoretical.”)

      Instead, Appellants yet again speculate that Appellees will levy crippling

fines, forcing them to lay off employees or go bankrupt. This type of loss, however,

is clearly avoidable and does not create irreparable harm. Even if Appellants

eventually faced actual imminent enforcement action, they could raise defenses

during the available administrative proceedings with available judicial review.

Minn. Stat. § 14.63. They could also seek an injunction at that point, prior to paying

any fine. These possibilities demonstrate that there is no irreparable injury.

Cf. Barmet Aluminum Corp. v. Reilly, 927 F.2d 289, 293-95 (6th Cir. 1991).




                                            44
  Appellate Case: 25-1480      Page: 57     Date Filed: 05/23/2025 Entry ID: 5519829
Appellants have an adequate remedy at law through the administrative process and

the appellate process.

             2.    The balance of equities and the public interest support denial
                   of an injunction.

      The third and fourth factors—balance of harms and public interest—merge

when the government is the non-movant. Morehouse, 78 F.4th at 1018. When

applying the balance of harms factor, the key question is whether the movant’s likely

harm without a preliminary injunction exceeds the nonmovant’s likely harm with a

preliminary injunction. Cigna Corp. v. Bricker, 103 F.4th 1336, 1347 (8th Cir.

2024). The purpose is not to conclusively determine the rights of the parties, but to

balance the equities as the litigation moves forward. Id.

      Here, Appellees have a sovereign interest in enforcing a democratically

enacted civil statute. Entry of an injunction would severely harm the government

and the workers who depend on Appellees to protect their rights. “Any time a

[government] is enjoined by a court from effectuating statutes enacted by

representatives of its people, it suffers a form of irreparable injury.” Maryland v.

King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers). The monetary

interests of a group of contractors should not outweigh the benefits to all

Minnesotans.




                                          45
  Appellate Case: 25-1480     Page: 58    Date Filed: 05/23/2025 Entry ID: 5519829
                                 CONCLUSION

       For these reasons, the Court should affirm because the district court did not

abuse its discretion when it denied the preliminary injunction.


Dated: May 23, 2025                     Respectfully submitted,

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                                          46
  Appellate Case: 25-1480    Page: 59     Date Filed: 05/23/2025 Entry ID: 5519829
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                                           s/ Janine Kimble
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                                           47
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                                           48
  Appellate Case: 25-1480     Page: 61     Date Filed: 05/23/2025 Entry ID: 5519829
